~AO 2458
           Case    5:10-cr-50118-JLV Document 597
           (Rev. 12/03) Judgment in a Criminal Case
                                                                          Filed 01/04/12             Page 1 of 5 PageID #: 1462
           Sheet 1


                                      UNITED STATES DISTRICT COURT
                                          District of South Dakota, Western Division
        UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                           VS.
                                                                       Case Number: 5: 1OCR50 118-03
               PRECIOUS BARTLETT
                                                                       USM Number: 11225-273


                                                                       Angela M. Colbath
                                                                       Defendant's Attorney
THE DEFENDANT:
•     pleaded guilty to count(s) I of the Superseding Infonnation
o     pleaded nolo contendere to count(s) which was accepted by the court.

o     was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                      Offense Ended         Count
21 U.S.c. §§ 846, 841(a)(I),       Use of a Communication Facility in Causing or Facilitating the         07/26/2010            Is
and 841 (b)(I )(A), all in         Conunission of a Felony Under the Controlled Substances Act
violation of21 U.S.C. § 843(b)




The defendant is sentenced as provided in this judgment. The sentence is imposed pursuant the statutory and constitutional authority vested
in this court.


o     The defendant has been found not guilty on count(s)
•     Count(s) 1 and 5 ofthe Superseding Indictment as they relate to the defendant are dismissed on the motion of the United States.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of any materIal changes in economic circumstances.



                                                                        12/29/2011
                                                                        Date of Imposition of Judgment


                                                                    ~~b.::.L......-!~_ . . .                                                  _
                                                                     -Signa~ge



                                                                        Jeffrey L. Viken, United States District Judge
                                                                        Name and Title of Judge
AO 2458
             Case     5:10-cr-50118-JLV Document 597
             (Rev. 12/03) Judgment in a Criminal Case
                                                                            Filed 01/04/12           Page 2 of 5 PageID #: 1463
             Sheet 4--Probation
                                                                                                                          Judgment· Page _2_ of_5_
DEFENDANT:              PRECIOUS BARTLETT
CASE NUMBER:            5:IOCRSOI18-03

                                                                  PROBATION

The defendant is hereby sentenced to probation for a term of: five years.



The defendant shall not commit another federal, state, local, or tribal crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests thereafter, as determined
by the probation office.

o         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)

•         The defendant shall not possess a ftrearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

•         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
          The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
o         student, as directed by the probation officer. (Check, if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

          If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
          Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this courtas well as with any additional conditions
          on the attached page.


                                             STANDARD CONDITIONS OF SUPERVISION

     1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation office in the manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do sol>y the probation officer;
    10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 . II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court;
    13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned b.>.:: the defendant's
          criminal record or personal history or characteristics and shall permIt the probation officer to make such nOtifications and to
          confum the defendant's compliance with such notification requirement.
AO 245B
            Case     5:10-cr-50118-JLV Document 597
            (Rev. 12/03) Judgment in a Criminal Case
                                                                Filed 01/04/12      Page 3 of 5 PageID #: 1464
            Sheet 4C - Probation
                                                                                                      Judgment - Page _3_ of_5_
DEFENDANT:             PRECIOUS BARTLETT
CASE NUMBER:            5: 1OCR50 118-03

                                           SPECIAL CONDITIONS OF SUPERVISION



1.        The defendant shall participate in a program approved by and at the direction of the probation office for
          treatment of substance abuse.
2.        The defendant shall undergo inpatient/outpatient psychiatric or psychological treatment, as directed by the
          probation office and take any prescription medication as deemed necessary by her treatment provider.
3.        The defendant shall not consume any alcoholic beverages or intoxicants. Furthermore, the defendant shall not
          frequent establishments whose primary business is the sale of alcoholic beverages.
4.        The defendant shall submit a sample of her blood, breath, or urine at the discretion or upon the request of the
          probation office.
5.        The defendant shall submit to a warrantless search ofhislher person, residence, place of business, or vehicle, at
          the discretion of the probation office.
6.        The defendant shall reside and participate in a residential reentry center as directed by the probation office.
          The defendant shall be classified as a prerelease case.
7.        While under supervision in the District of South Dakota, the defendant shall participate in the DROPS
          program as directed by the probation office.
AO 2458
            Case     5:10-cr-50118-JLV Document 597
            (Rev. 12/03) Judgment in a Criminal Case
                                                                           Filed 01/04/12             Page 4 of 5 PageID #: 1465
             Sheet 5 - Criminal Monetary Penalties
                                                                                                                        Judgment - Page _4_ of_5_
DEFENDANT:               PRECIOUS BARTLETT
CASE NUMBER:             5:10CRSOI18-03
                                                     CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                   Fine                                     Restitution
TOTALS              $   100.00                                   $   waived                               $


D         The determination of restitution is deferred until.
          An Amended Judgment in a Criminal Case (AO 245C) will be entered after such determination.

D         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately Rroportioned payment, unless specified otherwise
          in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), aJl nonfederal Victims must be paid
          before the United States is paid.

                                                                                                                                 Priority Or
Name of Payee                                                                  Total Loss*            Restitution Ordered        Percentage




TOTALS                                                                 $   -------$--------

D      Restitution amount ordered pursuant to plea agreement $

D      The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 36l2(g).

D      The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

       D       the interest requirement is waived for the        D fme               D restitution.

       D       the interest requirement for the         D fme              D    restitution is modified as follows:

* Findings for the total amount of losses are reguired under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994 but before April 23, 1996.
AO 245B
           Case     5:10-cr-50118-JLV Document 597
           (Rev. 12/03) Judgment in a Criminal Case
                                                                                 Filed 01/04/12              Page 5 of 5 PageID #: 1466
            Sheet 6 - Schedule of Payments
                                                                                                                                Judgment - Page _5_ of_5_
DEFENDANT:                PRECIOUS BARTLETT
CASE NUMBER:               5: 1OCR50 118-03


                                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A
      •       Lump sum payment of $ .;. l0=.. ;O::.:,.O.;. O"---      due immediately.

              D       not later                   , or
              D       in accordance
                                   --------------'
                                      D C, D D,  D E, or                                 D    F below); or

B     o       Payment to begin immediately (may be combined with                  D      C,     o   D,       D   F below); or

c     D       Payment in equal3'eekl6' (e.g., weekly, montWY,.. guarterly) installments of $ over a period of (e.g., months or years), to
              commence (e.g.,            o
                                 or 0 days) after the date or tliis judgment; or

D     D       Payment in equal weeki (e.g., weekly, monthly, or quarterly) installments of $ over a period of (e.g., months or years), to
                                                G
              commence (e.g., 30 or 0 days) after release from imprisonment to a term of supervision; or

E     D       Payment of the criminal monetary penalties shall be due in regular quarterly installments of of the deposits in the defendant's
              inmate trust account while the defendant is in custody. Any portion of the monetary obligation(s) not paid in fuJI prior to the
              defendant's release from custody shall be due in monthly installments of, such payments to begin, days following the
              defendant's release; or

F      D      Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expresslr ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All crunina monetary penalties, except those payments made througli the Federal Bureau of Prisons' Inmate Financia1
Responsibility Program, are made to tlie clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


D      Joint and Several

       Defendant and Co-Defendant Names and Case Number (including defendant number), Total Amount, Joint and Several Amount, and
       corresponding payee, if appropriate.




D      The defendant shall pay the cost of prosecution.

D      The defendant shall pay the following court cost(s):

D      The defendant shall forfeit the defendant's interest in the following property to the United States:




PaYIPents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs
